Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 1 of 10

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

In re ) Chapter 15
)

STRIPES US HOLDING, INC., ) Case No. 18-12388 (CSS)
)
)

Debtor in a Foreign Proceeding. ! ) Re: D.L.3
)
ORDER RECOGNIZING

FOREIGN PROCEEDING AND GRANTING RELATED RELIEF

 

Upon the Verified Petition of the Foreign Representative Seeking the Entry of an Order

Granting Recognition of a Foreign Nonmain Proceeding and Related Relief [Dkt. No. 2]

 

(together with the Form of Voluntary Petition [Dkt. No. 1], the “Petition”)2 of Richard Heis, in
his capacity as the duly authorized foreign representative (the “Foreign Representative”) of
Stripes US Holding, Inc. (the “Debtor”), which is the subject of proceedings (the “English
Proceeding”) currently pending before the Chancery Division (Companies Court) of the High
Court of Justice of England and Wales (the “High Court”) concerning a scheme of arrangement
(the “Scheme”) under part 26 of the Companies Act 2006 of England and Wales, in support of

entry of an order:

a. finding that (i) the Debtor is eligible to be a “debtor” under chapter 15 of
title 11 of the United States Code, 11 U.S.C. §§ 101 et seg. (the “
Bankruptcy Code”), (ii) the English Proceeding is a “foreign nonmain
proceeding” within the meaning of section 1502 of the Bankruptcy Code,
(iii) the Foreign Representative satisfies the requirements of a “foreign
representative” under section 101(24) of the Bankruptcy Code, and (iv) the
Petition was properly filed and meets the requirements of section 1515 of
the Bankruptcy Code;

b. granting recognition of the English Proceeding as a “foreign nonmain
proceeding” under section 1517 of the Bankruptcy Code;

1
 

 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 2 of 10

c. recognizing, granting comity to, and giving full force and effect within the
territorial jurisdiction of the United States to the English Proceeding, the
Scheme and the order of the High Court sanctioning the Scheme (the “
Sanction Order’), including giving effect to the releases set forth in the
Scheme (the “Releases”);

d. permanently enjoining all parties from commencing or continuing any
action or proceeding in the United States against the Debtor or its assets
located within the territorial jurisdiction of the United States that is
inconsistent with the Scheme (the “Injunction”);

e. waiving the 14-day stay of effectiveness of the order; and

f. granting related relief;

and upon the record of this case and the opportunity for a hearing (the “Hearing”) on the Petition
and this Court’s review and consideration of the Petition, the Heis Declaration and the Hodgson
Declaration; and the Court having found and determined that the relief sought in the Petition is
consistent with the purposes of chapter 15 of the Bankruptcy Code and is in the best interests of
the Debtor and its creditors; and after due deliberation and sufficient cause appearing therefor;

IT IS HEREBY FOUND AND DETERMINED THAT:3

A. This Court has jurisdiction to consider the Petition and the relief requested therein
pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the
United States District Court for the District of Delaware, dated February 29, 2012.

B. The consideration of the Petition and the relief requested therein is a core
proceeding pursuant to 28 U.S.C. § 157(b) and this Court may enter a final order consistent with
Article III of the United States Constitution.

C. Venue is proper before this Court pursuant to 28 U.S.C. § 1410(1) because the
Debtor is incorporated in the state of Delaware.

D. Good, sufficient, appropriate, and timely notice of the filing of the Petition and

2
Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 3 of 10

the Hearing has been given by the Foreign Representative, pursuant to Bankruptcy Rules
1011(b) and 2002(q) and the Order Scheduling a Hearing on Chapter 15 Petition for
Recognition and Related Relief and Specifying the Form and Manner of Service of Notice [Dkt.
No. 11] to @) the United States Trustee for the District of Delaware, (ii) the Scheme Creditors (as
defined in the Petition), (iii) the Debtor and (iv) all parties that have filed a notice of appearance
in this chapter 15 case. In light of the nature of the relief requested and prior orders of this
Court, no other or further notice is required.

E. No objections or responses were filed that have not been overruled, withdrawn, or
otherwise resolved.

F. The Debtor is incorporated in, and has assets located within, this District, and
therefore, the Debtor is “eligible” to be a debtor in this chapter 15 case pursuant to sections 109
and 1501 of the Bankruptcy Code.

G, The English Proceeding is a “foreign proceeding” as such term is defined in
section 101(23) of the Bankruptcy Code.

H. The Debtor has an “establishment” (as defined in section 1502(2) of the
Bankruptcy Code) in England. As such, the English Proceeding is a “foreign nonmain
proceeding” pursuant to section 1502(5) of the Bankruptcy Code and is entitled to recognition as
a foreign nonmain proceeding pursuant to section 1517(b)(2) of the Bankruptcy Code.

I. The Foreign Representative is a “person” as such term is defined in section
101(41) of the Bankruptcy Code and has been duly appointed and designated as the “foreign
representative” of the Debtor as such term is defined in section 101(24) of the Bankruptcy Code.

J. This chapter 15 case was properly commenced pursuant to sections 1504 and
 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 4 of 10

1509 of the Bankruptcy Code, and the Petition satisfies the requirements of section 1515 of the
Bankruptcy Code.

K. The Foreign Representative and the Debtor, as applicable, are entitled to the
additional assistance and discretionary relief requested in the Petition (including recognition and
enforcement of the Scheme and the Sanction Order and the Releases contained therein) under
sections 1507 and 1521 of the Bankruptcy Code.

L. The relief granted herein is necessary and appropriate, in the interests of the
public and of international comity, not inconsistent with the public policy of the United States,
warranted pursuant to sections 105(a), 1504, 1507, 1509, 1515, 1517 and 1521 of the Bankruptcy
Code and will not cause hardship to any party in interest. To the extent that any hardship or
inconvenience may result to such parties, it is outweighed by the benefits of the requested relief
to the Foreign Representative, the Debtor, its creditors and other parties in interest.

M. The relief granted herein is necessary to effectuate the purposes and objectives of
chapter 15 of the Bankruptcy Code and to protect the Debtor and the interests of its creditors and
all parties in interest.

N. Absent the relief granted herein, the Scheme, the English Proceeding and the
Debtor’s efforts to consummate the restructuring embodied in the Scheme may be thwarted by
the actions of certain creditors, which would be at odds with the purpose of chapter 15 of the
Bankruptcy Code as set forth, inter alia, in section 1501(a) of the Bankruptcy Code. Such
results could threaten, frustrate, delay, and ultimately jeopardize the implementation of the
restructuring embodied in the Scheme. Absent the Injunction, the Debtor and its assets located

in the territorial jurisdiction of the United States may be subject to the prosecution of judicial,
 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 5 of 10

quasi-judicial, arbitration, administrative or regulatory actions or proceedings in connection with
claims under the English Proceeding against the Debtor and its assets located in the territorial
jurisdiction of the United States, thereby interfering with and causing irreparable harm to the
Debtor, its creditors and other parties in interest.

O. The Injunction contained herein (i) is within the Court’s jurisdiction to grant, (ii)
is essential to the success and objectives of the Scheme and the English Proceeding and (iii)
confers material benefits on, and is in the best interests of, the Debtor, its creditors and all other
parties in interest.

P. In accordance with section 1507(b) of the Bankruptcy Code, the relief requested
herein will reasonably assure: (i) the just treatment of all holders of claims against or interests in
the Debtor’s property; (ii) the protection of claim holders in the United States against prejudice
and inconvenience in the processing of claims in the English Proceeding; (iii) the prevention of
preferential or fraudulent dispositions of property of the Debtor; and (iv) the distribution of
proceeds of the Debtor’s property substantially in accordance with the order prescribed in the
Bankruptcy Code.

Q. All creditors and other parties in interest, including the Debtor, are sufficiently
protected in the grant of the relief ordered hereby in compliance with section 1522(a) of the
Bankruptcy Code.

BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE

DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFOR, IT IS
HEREBY ORDERED THAT:

1. The Petition and the relief requested therein are granted, and any objections or

responses thereto that have not been withdrawn or resolved are overruled with prejudice.
Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 6 of 10

2. The English Proceeding is recognized as a “foreign nonmain proceeding” under
sections 1517(a) and 1517(b)(2) of the Bankruptcy Code.

3. The Foreign Representative is recognized as the “foreign representative” as
defined in section 101(24) of the Bankruptcy Code in respect of the English Proceeding.

4. The Scheme and the Sanction Order (including the Releases) granted in the
English Proceeding are hereby recognized, granted comity and given full force and effect in the
United States and are binding and fully enforceable in accordance with their terms pursuant to
sections 105(a), 1507, 1521 and 1525 of the Bankruptcy Code on all entities (as that term is
defined in section 101(15) of the Bankruptcy Code) whose claims or interests are affected by the
Scheme and each of their respective heirs, successors, assigns, trustees, subsidiaries, affiliates,
officers, directors, agents, employees, representatives, attorneys, beneficiaries, guardians and
similar officers, or any persons claiming through or in the right of any such persons or entities
(collectively, other than the Debtor and its expressly authorized representatives and agents, the “
Affected Entities”), whether or not the Affected Entity consented to be bound by or participated
in the Scheme.

5. All Affected Entities are hereby permanently enjoined from asserting any debt,
claim or interest affected by the Sanction Order and the Scheme, except as expressly permitted
by the Scheme, including without limitation:

a. executing against any of the Debtor’s assets;
b. commencing or continuing, including issuing or employing process, of
a judicial, quasi-judicial, administrative, regulatory, arbitral, or other

action or proceeding, or to recover a claim, including, without
 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 7 of 10

limitation, any and all unpaid judgments, settlements or otherwise
against the Debtor, its property, or any direct or indirect transferee of
or successor to any property of the Debtor, or any property of such
transferee or successor, or the seeking of any discovery related to any
of the foregoing, which in each case is in any way inconsistent with,
relates to, or would interfere with, the administration of the Debtor in
the English Proceeding, English law or the implementation or
consummation of the Sanction Order or the Scheme (including the
Releases);

c. taking or continuing any act to create, perfect or enforce a lien or other
security interest, setoff or other claim against the Debtor or any of its
property or proceeds thereof, which in each case is in any way
inconsistent with, relates to, or would interfere with, the administration
of the Debtor in the English Proceeding, English law or the
implementation or consummation of the Sanction Order or the Scheme
(including the Releases);

d. transferring, relinquishing or disposing of any property of the Debtor
to any entity other than the Foreign Representative and his authorized
representatives and agents or taking or continuing any act to obtain
possession of, commingle, or exercise control over, such property,
which in each case is in any way inconsistent with, relates to, or would

interfere with, the administration of the Debtor in the English
 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 8 of 10

Proceeding, English law or the implementation or consummation of
the Sanction Order or the Scheme (including the Releases);

e€. commencing or continuing in any manner, directly or indirectly, an
individual action or proceeding concerning the Debtor’s assets, rights,
obligations or liabilities, or to resolve any dispute arising out of any
provision of the Scheme, including the Releases, or English law
relating to the Scheme; and

f. declaring or considering the filing of the English Proceeding, the
Scheme, the Sanction Order or this chapter 15 case a default or event
of default under any agreement, contract or arrangement;

provided, in each case, that such injunctions shall be effective solely within the territorial

jurisdiction of the United States.

6. Any judgment, wherever and whenever obtained, to the extent such judgment is a
determination of the liability of the Debtor or any other person released under the Scheme
pursuant to the Releases, with respect to any debt cancelled, discharged or restructured under the
Scheme, or as a result of English law relating to the Scheme, is unenforceable in the United
States, in each case, to the extent inconsistent with the Scheme, the Sanction Order or such law.

7. The Foreign Representative and the Debtor are authorized and empowered to, and
may in their discretion and without further delay, (i) execute and deliver documents to effectuate
the Scheme (including the Releases) and take any action and perform any act necessary to
implement and effectuate the terms of this Order, the Sanction Order and the Scheme and (ii)

exercise all consent and approval rights provided for in the Scheme in the manner set forth in the
 

Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 9 of 10

Scheme.

8. No action taken by the Foreign Representative, the Debtor or their respective
agents, representatives, advisors, or counsel, in preparing, disseminating, applying for,
implementing or otherwise acting in furtherance of the English Proceeding, the documents
contemplated thereunder, this Order, the chapter 15 case, any further order for additional relief in
the chapter 15 case, or any adversary proceedings in connection therewith, will be deemed to
constitute a waiver of the immunity afforded such persons under sections 306 or 1510 of the
Bankruptcy Code.

9. No party shall incur any liability for following the terms of this Order (whether by
acting or refraining from acting), except in the case of the party’s own gross negligence or
willful misconduct.

10. Nothing herein shall enjoin a police or regulatory act of a governmental unit,
including a criminal action or proceeding.

11. The Foreign Representative, the Debtor, and their respective agents are authorized
to serve or provide any notices required under the Bankruptcy Rules or local rules of this Court.

12. Notwithstanding any provision in the Bankruptcy Code or the Bankruptcy Rules
to the contrary, including, but not limited to Bankruptcy Rules 1018, 3020(e), 6004(h), 7062 and
9014, (a) this Order shall be effective immediately and enforceable upon its entry, (b) the
Foreign Representative is not subject to any stay in the implementation, enforcement, or
realization of the relief granted in this Order, and (c) this Order shall constitute a final order
within the meaning of 28 U.S.C. § 158(a).

13. This Court shall retain jurisdiction with respect to the implementation,

enforcement, amendment or modification of this Order.

 
Case 18-12388-CSS Doc 23 Filed 11/13/18 Page 10 of 10

Dated: | November \> , 2018 A (
Wilmington, Delaware at i ~
THE HONORABLE CHRISTOPHER S. SONTCHI
CHIEF UNITED STATES BANKRUPTCY JUDGE

 

1 The last four digits of the Debtor’s Federal Employer Identification Number are 2800. The location of the
Debtor’s registered office is 1209 Orange Street, Wilmington, Delaware 19801.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Petition.

3 The findings and conclusions set forth herein and on the record of the Hearing constitute this Court’s findings
of fact and conclusions of law pursuant to Rule 52 of the Federal Rules of Civil Procedure, made applicable
herein by Rules 7052 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). To the
extent any of the findings of fact herein constitute conclusions of law, they are adopted as such. To the extent
any of the conclusions of law herein constitute findings of fact, they are adopted as such.

10

 
